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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :      Case No: 21-cr-28-6
                                            :
         v.                                 :
                                            :      18 U.S.C. §§ 371, 1512(c)(2), 2
 GRAYDON YOUNG                              :
                                            :
         Defendant.                         :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Graydon Young, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States



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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the




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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


              Graydon Young’s Participation in the January 6, 2021, Capitol Riot

       8.      In advance of January 6, 2021, Mr. Young coordinated with certain individuals

and affiliates of the Oath Keepers – referred to here as “the co-conspirators” – in making plans

for what Mr. Young and the co-conspirators would be doing in Washington, D.C., on January 6.

       9.      Mr. Young and at least some of the co-conspirators discussed the need to maintain

operational security and accordingly used encrypted messaging applications to communicate

with one another.

       10.     On January 4, 2021, Mr. Young flew from Florida to North Carolina, and the next

day drove with at least one of the co-conspirators to the Washington, D.C., metropolitan area.




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          11.   On January 6, 2021, in the morning, Mr. Young met up with at least some of the

co-conspirators at an event near the White House.

          12.   In the early afternoon, Mr. Young marched with at least some of the co-

conspirators towards the U.S. Capitol.

          13.   At around 2:28 p.m., Mr. Young and at least some of the co-conspirators

unlawfully entered the restricted grounds of the U.S. Capitol. Mr. Young was wearing a

reinforced vest, helmet, and Oath Keepers shirt, and he carried a radio.

          14.   Mr. Young then joined together with at least some of the co-conspirators in

walking up the stairs on the east side of the U.S. Capitol in a “stack” formation, with each person

keeping a hand on the shoulder of the person in front.

          15.   At around 2:40 p.m., Mr. Young was present with at least some of the co-

conspirators on the plaza outside the east Rotunda doors of the U.S. Capitol. At least some of

the co-conspirators and other individuals pushed against U.S. Capitol Police officers and the east

Rotunda doors, eventually forcing open the doors. The doors were significantly damaged. Mr.

Young and at least some of the co-conspirators then unlawfully entered the U.S. Capitol Building

itself.

          16.   At the time Mr. Young forcibly entered the building, Mr. Young believed that he

and the co-conspirators were trying to obstruct, influence, and impede an official proceeding,

that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral

College vote as set out in the Twelfth Amendment of the Constitution of the United States and

the statutes listed in sections 15 through 18 of title 3 of the U.S. Code.

          17.   Mr. Young acted to affect the government by stopping or delaying the

Congressional proceeding, and, in fact, did so. He accomplished this by intimidating and



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coercing government personnel who were participating in or supporting the Congressional

proceeding.

       18.     At around 2:45 p.m., while inside the U.S. Capitol, Mr. Young, some of the co-

conspirators, and others pushed against a line of riot police officers guarding the hallway

connecting the Rotunda to the Senate.

       19.     At around 3:05 p.m., Mr. Young exited the Capitol.

       20.     At around 4:22 p.m., Mr. Young posted on Facebook, “We stormed and got

inside.”

       21.     On January 8, 2021, Mr. Young deleted his Facebook account.


                                Limited Nature of Factual Basis

       22.     This proffer of evidence is not intended to constitute a complete statement of all

facts known by Mr. Young or the government. Rather, it is a limited statement of facts intended

to provide the minimal necessary factual predicate for Mr. Young’s guilty plea.




                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793

                                              By:    /s/ Jeffrey Nestler
                                                     Jeffrey Nestler
                                                     Assistant United States Attorney




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